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                               United States District Court
                              Southern District of New York


  (2L.                             i4-ALS£Y ( AMendJ ^
                                                                         \ *7 cv
  Write the full name of each plaintiff.                               (Include case number If one has been
                                                                       assigned)


                             -against-
                                                                              COMPLAINT
             \aJ I \\t am                                                       (Prisoner)
                                                           ^4431
            Nivpn                                                          Do yojju want a jury trial?
                                                                                   'Yes   □ No
 r.D. !?/■>>( AHotvi                 LoPp2-               AAt<^(o

  Write the full name of each defendant. If you cannpt fit the
  names of all of the defendants in the space provided, please
                                                                                          r
  write "see attached" in the space above and attach an
  additional sheet of paper with the full list of names. The                       MSttsTigid
  names listed above must be identical to those contained in
  section IV.



                                                                                ®''®°'®-VNOFP/Cf
                                                 NOTICE
     The public can access electronic court files. For privacy and security reasons, papers filed
     with the court should therefore not contain: an individual's full social security number or full
     birth date; the full name of a person known to be a minor; or a complete financial account
     number. A filing may include only: the last four digits of a social security number; the year of
     an individual s birth; a minor's initials; and the last four digits of a financiaraccount number.
     See Federal Rule of Civil Procedure 5.2.




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        I.        LEGAL BASIS FOR CLAIM

        State below the federal legal basis for your claim, if known.This form is designed primarily for
        prisoners challenging the constitutionality of their conditions of confinement;those claims are
        often brought under 42 U.S.C.§ 1983(against state/county, or municipal defendants) or in a
        "Bivens" action (against federal defendants).
               Violation of my federal constitutional rights
        -pother:             <r\-e(pir4 Oa4-»oA ^                                        ^
        IL        PLAINTIFF INFORMATION

        Each plaintiff must provide the following information. Attach additional pages if necessary.

        CL\                                                      iVArLSeX
        First Name                  Middle Initial               Last Name


                                        Nl/fV
        State any other names(or different forms of your name) you have ever used, including any name
                                    ferencform!
        you have used in previously filing a lawsuit.

                                     l(p~ 009-8*^
        Prisoner ID #(if you have previously been in another agency's custody, please specify each agency
        and the ID number(such as your DIN or NYSID) under which you were held)

        —                      1
        Current Place of Detention
                                               lolCiVc                                     S
                                      ^oc.
        Institutional Address


        ^€<0                                            nIX-                         lOQC^-
        County, City                                     State                     Zip Code
        III.     PRISONER STATUS

        Indicate below whether you are a prisoner or other confined person:
             Pretrial detainee

        □ Civilly committed detainee
        □ Immigration detainee
        D Convicted and sentenced prisoner
        □ Other:




                                                                                                       Page 2
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                                                                             17^
  IV.     DEFENDANT INFORMATION                                              ^' CM
  To the best of your ability, provide the following Information for each defendant. If the correct
  Information Is not provided. It could delay or prevent service of the complaint on the defendant.
  Make sure that the defendants listed below are Identical to those listed In the caption. Attach
  additional pages as necessary.

  Defendant 1:
                     First Name                  Last Name                     Shield #

                                       PgA-eMA V-e
                     Current Job Title (or other identifying information)                                         I
                                                             /gy/g-                                   P<dr
                     Current Work Address

                                                                                     1I3-&U
                     County, City                           State                  Zip Code
  Defendant 2:
                     First Name
                                                 Lope-?-
                                                 Last Name
                                                                                 3-2)iq(o             b7'^ pcA-
                                                                               Shield #

                                    Po\>"Cg,      cxj^Cef-
                     Current Job Title (or other identi ^ng Information)


                     Current Work Address
                   ^btTOo             ^                   foetjoYov^K-                    UX
                     County, City                           State                  Zip Code
  Defendant 3:
                        ^CLv^iegi
                     First Name                 Last Name                      Shield #

                                         \i Ct.                    Cor
                     Current Job Title (or other identifying Information)

                                           {sI2l
                     Current Work Address

                                                                                  lii
                     County, City                          state                  Zip Code
  Defendant 4:
                     First Name                 Last Name                     Shieid #

                                  VvxVaA-C.                         £
                     Current Job Title (or other Identifying Information)
                                                                                              LoJJi ) J


                    Current Work Address

                                                                                     l\2-&
                    County, City                           State                  Zip Code



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                                                                                 - cv/-
  V.     STATEMENT OF CLAIM

  Place(s) of occurrence:


  Date(s)of occurrence: y/zs th - ^ 13 /u -
  FACTS:                    •         /                    '        *                '
  State here briefly the FACTS that support your case. Describe what happened, how you were
  harmed, and how each defendant was personally Involved In the alleged wrongful actions. Attach
  additional pages as necessary.

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    INJURIES:

    If you were Injured as a result of these actions, describe your Injuries and what medical treatment.
    If any, you required and received.

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    VI.    RELIEF

    State briefly what money damages or other relief you want the court to order.

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  VII. PLAINTIFF'S CERTIFICATION AND WARNINGS
  By signing below,I certify to the best of my knowledge,information, and belief that:(1)the
  complaint is not being presented for an improper purpose(such as to harass,cause unnecessary
  delay, or needlessly increase the cost of litigation);(2)the claims are supported by existing law
  or by a nonfrivolous argument to change existing law;(3)the factual contentions have
  evidentiary support or,if specifically so identified, will likely have evidentiary support after a
  reasonable opportunity for further investigation or discovery; and (4)the complaint otherwise
  complies with the requirements of Federal Rule of Civil Procedure 11.

  I understand that if I file three or more cases while I am a prisoner that are dismissed as
  frivolous, malicious, or for failure to state a claim,I may be denied informa pauperis status in
  future cases.

  I also understand that prisoners must exhaust administrative procedures before filing an action
  in federal court about prison conditions,42 U.S.C.§ 1997e(a), and that my case may be
  dismissed if I have not exhausted administrative remedies as required.
  I agree to provide the Clerk's Office with any changes to my address. I understand that my
  failure to keep a current address on file with the Clerk's Office may result in the dismissal of my
  case.




  Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
  proceed without prepayment of fees, each plaintiff must
                                                       jsi also submit an
                                                           aiso suomii an IFP  application.
                                                                          ii-f application,




  Dated                                                   plalnfiffiSignature
                                                          Piaimtri  Signature                 i
                                                             Ua/iL<^^Y
  First Name                     Middle Initial           Last Name


  Prison Address

                                                  a/.V                           looo^
  County, City                                    State                         Zip Code



  Date on which I am delivering this complaint to prison authorities for mailing:




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                                                               31 PageID #: 52




                                   United States District Court
                                  Southern District of New York


                                   ^-AL€>eY
  (full name ofthe plaintiff or petitioner applying(each person
   must submit a separate application))
                                                                    _L3:cv ^                               «AV!)ty )
                            -against-                               (Provide docket number,if available; iffiilng this with
                                                                    your complaint, you will not yet have a docket number.)

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          V-M qX- M V»
  (full namdis)of the defendant(s)/respondent(s))
                                                       Ze^te {lV\/»s

           APPLICATION TO PROCEED WITHOUT PREPAYING FEES OR COSTS
  I am a pl^tiff/petitioner in this case and declare that I am imable to pay the costs of these proceedings
  and I believe that I am ^titled to the relief requested in this action. In support of this application to
  proceed infomia pauperis(IFF)(without prepaying fees or costs), I declare that the responses below are
  true:


 1. Are you incarcerated?                    ^ Yes                   □ No (If "No," go to Question 2.)
      Iam being held at:                         *

      Do you receive any payment                this institution? □ Yes ^ No
      Monthly amoimt
     If 1 am a prisoner, see 28 U.S/6. § 1915(h), 1have attached to this document a "Prisoner Authorization"
      directing the facility whereIam incarcerated to deduct the filing fee from my accoimt in installments
      and to send to the Court certified copies of my account statements for the past six months. See 28
      U.S.C. § 1915(a)(2), (b).Iunderstand that this means that 1 will be required to pay the full filing fee.
      Are you presently employed? □ Yes                             ^ No
     If "yes," my employer's name and address are:


     Gross monthly pay or wages:                           Coj^Ct
     If "no," what was your last date of employment?                -^7/ ^
     Gross monthly wages at the time:                      ^ loho'.o^
     In addition to your income stated above (which you should not repeat here), have you or anyone else
     living at the same residence as you received more than $200 in the past 12 months from any of the
     following sources? Check all that apply.
      (a) Business, profession, or other self-employment                        Q Yes                   -ST No
      (b) Rent payments, interest, or dividends                                 □ Yes                   0 No

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           (c) Pension, annuity, or life insurance payments                    □      Yes             0    No
           (d) Disability or worker's compensation payments                    □      Yes             m    No
           (e) Gifts or inheritances                                           □      Yes             El   No
           (f) Any other public benefits (unemployment, sodcil security,
              food stamps. Veteran's, etc.)                                    □      Yes             0    No
           (g) Any other sources                                               □      Yes             m    No

      If you answered "Yes" to any question above, describe below or on separate pages each source of
      money and state the amount that you received and what you expect to receive in tiie future.



      If you answered "No" to all of tiie questions above, explain how you are paying your expenses:


  4. How much money do you have in cash or in a checking, savings, or inmate account?
                                                                                    a                  d

  5. Do you own any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other
     financial instrument or thing of value, including any itern of value held in someone else's name? If so,
      describe the property and its approximate value:              ^

 6. Do you have any housing, transportation, utilities, or loan payments, or other regular monthly
      expenses? If so, describe and provide die amoimt of the monthly expense:


 7. List all people who are dependent on you for support, your relationship vdth each person, and how
    much you contribute to their support (only provide initials for minors imder 18):

 8. Do you have any debts or financial obligations n^described above? If so, describe the amounts pwed /
      and to whom they are payable:                      i)cL>T^                                                    U>caiS

 Declaration: 1 declare imder penalty of perjury that tire above information is true. 1rmderstand that a false
 statement may result in a dismissal of my claims.
     MAY , 13. Zol?-
  Ddt6cl                                                   signstu/c'

  Name (Last, Rrst, Ml)        .
                                                               ^                    lo 06 9'^'^
                                                           Prison Identification # (if incarcerat^)

✓ A^ress                   ^                  city
                                                      hi Vc             A/y
                                                                         State   Zip Code
                                                                                            / ooo9"             ^
                                                                            ASoMe.
  Telephone Number                                         E-maii Address(if available)


                                              IFP Application, page 2
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                                      United States District Court
                                     Southern District of New York



   {full name of the plaintiff/petitioner)    /                                                           AJ \CS
                                                                n cv                                  (         u        )
                              -against-                       (Provide docket number.If available; if filing this with your
                                 .                            complaint, you will not yet have a docket number.)
  tyf/Luii Lxinnarl/)^ aJVPp. P-a DeSafuo^ p-o-
                                      hfjju^s lAX^LeA.
  {full name(s)of the defendant(s)/respDndent(s))


                                             PRISONER AUTHORIZATION

  By signing below,I acknowledge that:
  (1) because I filed this action as a prisoner,^ I am required by statute(28 U.S.C § 1915)to pay
      the full filing fees for this case,even if I am granted the right to proceed informa pauperis
         (IFF), that is, without prepayment of fees;
  (2) the full $350 filing fee will be deducted in installments from my prison accoimt,even if my
         case is dismissed or I voluntarily withdraw it.
  I authorize the agency holding me in custody to:
  (1) send a certified copy of my prison trust fund account statement for the past six months
       (from my current institution or any institution in which I was incarcerated during the past
         six monfiis);
  (2) calculate the amounts specified by 28 U.S.C § 1915(b), deduct those amounts from my
         prison trustfund,and disburse those amounts to the Court.

  This authorization applies to any agency into whose custody I may be transferred and to any
  other district court to which my case may be transferred.


                     lb, AoR
  Date                                                       Signature

                                              Pl-L(              ^                                                  f
  Name (Last, First> Ml)                                                   Prison Identification #

 1?-^ uJLU Sh                                  /i/c                    UV                      lO^Q-p-
                                                      City                           State          Zip Code



   A "prisoner" is "any person incarcerated or detained in any facility who is accused of,convicted of,
  sentenced for, or adjudicated delinquent for, violations of criminal law or the terms or conditions of
  parole, probation, pretrial release, or diversionary program." 28 US.C.§ 1915(h).
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 , t^D^Domestic Incident Report
                                                                                                            Page 2^
     Suspect Action
     Destroyed Property
     Other Suspect AcbonsrMENAClMQ

     Onter of Protection
    Registry         Order of
    checked
                                  Stay Awe^     Order           Any Prior
                    Protection     Order                                     OP Court     OP Court   Expiration
    NO                                          Violated        Orders       Name
                    NO                                                                    Type       Date

    Investigation Info
    Photo Taken Photo: Victim
    YES
                                    Photo: Suspect     Photo:       Photo: Property Photo: Other
                Injuries            Injuries           Scene        Damage
                                                                    YES
    Chlid victim Other Evidence
                                    if Yes, describe
    ofabuse         Collected                                                        Excited utterances/
    NO              NO                                                               spontaneous admissions
                                                                                     NA



   hammer causing damage value of headsetaprox^^no^uries *^ headrest with
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  NO                                                           Issuing County   Pttnnit#(s) I Name on Permit(s)
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               Case 1:17-cv-00089-MKB-LB Document 11 Filed 05/30/17 Page 14 of 31 PageID #: 59
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Case 1:17-cv-00089-MKB-LB Document 11 Filed 05/30/17 Page 16 of 31 PageID #: 61




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                  Case 1:17-cv-00089-MKB-LB Document 11 Filed 05/30/17 Page 17 of 31 PageID #: 62
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                     Case 1:17-cv-00089-MKB-LB Document 11 Filed 05/30/17 Page 18 of 31 PageID #: 63
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 Case 1:17-cv-00089-MKB-LB Document 11 Filed 05/30/17 Page 19 of 31 PageID #: 64




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             Case 1:17-cv-00089-MKB-LB Document 11 Filed 05/30/17 Page 20 of 31 PageID #: 65
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                          OfSce oftile District
                                         istnct Attorney                          >   *
                          Kings County
                          KENNETHP.THOMPSON




   COUNTY OF KINGS
                                                             X
   THE PEOPLE OF THE STATE OF NEW YORK


                            agamst-


                                                                                                   Dodcet/Indictment#: 6561/2016
   CUFTQN HALSEY                                                                                                   -—

                           Defendant
                 -                                         --X

                                                           VOLUNTARY DISCLOSURE FORM

   Fonnpiepaiediv; ADA Jennifer Naar X                              -                                      Date: Aumet Ifi aniti

   Foim served by:                                             Upon:                                       pgte;
   (1)Appraxiinate date,time and place ofoffense:

                                                     Pafe               Time              Place
             See Attached spreadsheet

                                                                                  (Xdcuci\                            "71 —
   (2)Approximate date,time and place ofaxie^


  .ArrestTPOl
                                    Date
                                 /4/15/16\
                                                     Time
                                                     10:24BM
                                                                        Pl«f!g
                                                               127UticaAvenue-,—
                                                                                  /                 ^
                                                                                                                                    r\           ,   J

   ArrestTP02                    ^4/15/16/           6:01 PM   1367HoyAv^4                           ^                                               ^
   Arrest TPO 4                    5/13/16           252 AM U- 1367 Hoy Avenue                                                           '            '
   Arrest TPO 8 .                  7/27/16           6:27 AM mm 1367 Hoy Avenue

  (3)Arresting OfiBcer:            Date              Nam«^                                                           Coimmind

*-^AnestTP01                       4/15/16V         'Det William Camacho                      -^24431               77'^DetSquad^tsi6</^ I
   ArrestTP02
   Arrest TP02                  14/15/16
                                i 4/15/lfi ^J        POJaredDesalvo                               1870              67®Piecmct
   Arrest W04                      5/13/16           PORamonLcpez                                 >23196           ^ 67'Preciiict
   Arrest TPO 8                    4//I6—-           Andreas Sargent                               24431             67® Precinct            _

                                                                                      S^ewveiv^- Q\s/cjn baV CI\aJ
  (4)Other police officers,excluding any ofScerwfaoae identhy miisthe nnnfidenfinlly Icnnwii hytiie
        prosecutor to have          inesrait at tire time ofanest

                                   Name                       Shield             rnmmipd

                                             TO BE PROVIDED AT TRIAL
        Case 1:17-cv-00089-MKB-LB Document 11 Filed 05/30/17 Page 21toy\
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              CWfoUcywedDefand ttfiystrug^edagfunovarliie phones. CW dropped her car keys. Deftc r\ ^
          k^andranlDdiecarandlriedtodriveoffmCW'scar. CWgotintDshqplheDefbiithedroveoi k Z
          mCWmdiecar. In The carIfaelMrehi^to stop and soeamed and yelled at CW.Pbliceiespcn L^C
          before PefhroughtCWbadL CW'sdiildrenlttd been left alone in tte house and woe
          precinct.
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Case 1:17-cv-00089-MKB-LB Document 11 Filed 05/30/17 Page 22 of 31 PageID #: 67


SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF KINGS. PART 4


THE PEOPLE OF THE STATE OF NEW YORK

                                                       ON FILE
              -against-                                DISCOVERY

Clifton Halsey
                                                      Indictment No.
                                                      6561^016
                     Defendant.


      JENNIFER K. NASAR,an attorney duly admitted to practice iaw before the
courts of the State of New York, and an Assistant District Attorney in Kings County,
hereby affirms the foilowing to be true under the penalties of perjury:
      1. On the date indicated herein,the following documents were disclosed to
defense counsel:

      1. Factual Portion of the GJ Synopsis


4-15-16
      2.   CAB Screening Sheet - Arrest# 16628300 & Arrest# K16628251
      3.   Typed Online(Kl6628251H)
      4.   Scratch Online(Kl6628251H)
      5.   Typed 61 (2016-67-3766)
      6.   Scratch 61 (2016-67-3766)
      7. Scratch DIR
      8. Typed DIr
      9. NYPD Photos taken (black and white copies)                          n
      10.Miranda Wamlngs                                                                   ^
      11.Bench Warrant                                             .^
      12.Memobook Officer Jared Desalvo                                                ^
      IS.VSASuperform                                        .         ^ \\
      14.DV Page                                                   J     -       ^
      15.Invoice #3000652962            -c
      16.Prisoner Movement slip ,                ir         (
      17.Sprint Report




                                  A
Case 1:17-cv-00089-MKB-LB Document 11 Filed 05/30/17 Page 23 of 31 PageID #: 68




                                   ^ kIo i
         18.ScratchDIR(2-10-16)                  ^|(ol /C, inCideM.^
7-27-16                                £i4ori<3^H6/
      19.ECAB Screening-Arrest# K16653743 —- Al-tr/^/,
      20.Typed Online(K16653743R)
      21.Scratch Online(K16653743R)
      22.Typed 61 (2016-067-7656)
      23.Scratch Online (2016-067-7656)
      24.VSA Superform
      25.Scratch DIR .
      26.Typed DIR
      27.DV Page
      28.Miranda Card
      29.Prisoner Movement Slip
      30.Memobopk Officer Sargent
      31.Sprint Report


5-13-16
      32.ECAB Screening Sheet-Anest#K16635585                          llX)
      33.Typed Online- K16635585M                         ^            rvV^ -n    I
      34.Typed Complaint 2016-067:4777
      35.VSA Superform
      36.Scratch Aided
      37.Miranda Wamings
      3a DV Page
      39.Scratch DIR
      40.Typed DIR
      41.Photos Taken by NYPD (Black and While copies)
      42.Memobook Officer Lopez
      43.Sprint Report

Dated:        Brooklyn, New York
              October 17,2016


                                     JENNIFER K. NASAR
                                     Assistant District Attomey
                                     Kings County District Attomey's Office


Kenneth Jones
 Case 1:17-cv-00089-MKB-LB Document 11 Filed 05/30/17 Page 24 of 31 PageID #: 69



arrest RejDort - K16635585


 HOME^ERMAffENT 1367 TROY AVENUE BROOKLYN NEWYOfUC
Phone^and £*^3'Address:cell:9l7-3Si-i3Z8
 N.Y.C.HA Res4ont-" NO N.Y.C. Housing Emptoyee: NO OnDuy
       Oeveiopii|iont:  N.Y.C.Transit Employee: no
Physical Foroe:NONE
      Gun-
   Weapon used/Possessed: USEIVDISPLAYED                        Make                 Recovered: NO
     Non-Flraann Weapon: CUTTINOIN3TRU9IIENT                    color     Serial Number Defaced
 Other Weapon bsBcriptlon:                                     Caliber             Serial Number
                                                                Type:
                                                        OiscliaTged: NO

   Used Transijl Syatam: NO
        SCatkm Erttsred:
           Thne Entorod:
        Metro Chrd Type:
 Metro Card Us^tUPoses:
                    Card#;


 CRIME DATA                    DETAILS

 METHOD OF pjuGHT              NA

 MODUS 0PEr||U1DI       UNKNOWN
 ACTIONS TO«|aRO VICTIM INJURY USING PHYSKSAL FORCE
 CLOTHING                      FOOTWEAR - SNEAKERS - BLUB
 CLOTHING '                    OUTERWEAR ■ T-SHIRT OR TANK TQP - BLUE
 CLOTHING       I              HEAOGEAR-UNK-UNKNOWN COLOR
  CLOTHING      ;              ACCESSORIES - CARGO PANTS•BEIGE
  characteristics              UNKNOWN
  BODY MARKsi                  -UNKNOWN
  BODYMARK^                    •UNKNOWN
  ibipersonatIon               UNKNOWN

 IJUVENILE^TA                                                                                         Arieatd: K16635585

      Juvenile dffemiar      Relative No6iled: Personal Recog

 r    taimber^f Priors: 0
       School Attending:
  Mother's Maiden Name:
                                      Name:
                               Phone Called:
                                Time NotiSed:
                                                                                                                                I
                                                                                                             Ane8t«:K16635586
  ASSOCIAtED ARRESTS:
  arrestID COMPLAINT*

  No Vehicftos for Arrest#
  DEFENDANTS CALLS:                                                                                       AirBet#t 1(1^636585

   CALL» NUMBER DIALED NAME CALLED
           347-627-2788

                                                                                                            Ane6ti:K1663S585
  invoices!
   INVOICE# fibaiagANP PROPERTY TYPE VALUE
   ARRESljiNG OFFICER:POM RAMON LOPEZ
             Tak Number.                        On Duty: YES
   Other ID (noni-NYPD):i                  In UmToim: YES
               'Snteld: 231S8                    Squad: A1
             Depanmertl: NYPD                     Chart 02                                   Officer in




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80o/Eood              9103 cmem                  itilimm'-m
                           OFFICE
                        Case      OFTHE DISTRICT ATTORNEY,Document
                             1:17-cv-00089-MKB-LB          KINGS COUNTY
                                                                     11 Filed 05/30/17 Page 25 of 31 PageID #: 70
                              REHAISSANCE PLAZA at350 JAY STREET
                              BROOKLYN.N.Y 11201-^8
                              (71^250-2000
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CENNETHP.TUaMPSON
     DistrtetAttom^
                                                     Complaint Room Sereonino ShfmP                              Domestic Violeace
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                                                                                                                 FsniQy olfaise
     Soeenen AfexdnderCine
                                                                   Bureau: OonwstteVleleRea
Screening data: April 16,2016                                                                                    NarcoUca:[n]
     180.60 Date:



Defendants
                                                  /wwmnntitr                    Asa CcmBtefttMIP   Clasa
        HAlSEY,CLIFTON                            K18628S00    M      120068 047          1        Mbdemeaner
                             Gai^ membeti 1 ■                                                                       NON Grand Juiy
        HALSEY.CUFTON                             K16628251
                             Gang nwinbeil    I
TPOs
             l^rtgmnw
        1 02ti(V16G1:30 to:                          801BER6ENSTREET ^
        2 04/18/161730 to:                           1367TROYAVE
Arrests
                                             Datonbno^^.-^ Ph«e
        HAWBY.CUFION                         (W1S16 fiSl) 1387TROYAVENUE
             wircumstances:
             Airest Chafgea. pi,1201401 PL14S0001 PL26S0101
        HAL^.CLIFn)N
             Cvcumstaiioes:
                                  (WlStiO/g;^ 127 UTICAAVENUE 4                                                         (Xr^vsul
          AnaatCtiaigea: pl2601001        ^     .        1 ,
Complaint Charges                                                   ^—
       HALSEY,CLIFTON


                       ^^         Pt-120.16.PL 146.00(1).PL 240.26(1). PL'26S.01(2)
DV // DEFT TAKES CELUHOWES.PUSHES01^8^8             CHILD ff DEFT HITO CAR HEADREST VHTH
S^sasassawKss®^
WRAJANMOUOD(DOB1/BOT)AtrocWARIANWBARKro(DOB3fl3«)^«ffiCW SUZETTEMCLBJiysCHIIORBI
=01(2/10/16):
3C: DEF AND C/WSSHARED RESIDEN(£

eSTOOKCW S^TTEM^O|S«!i^^
WSUZETTE MCLEOD TRIED TO
                                                                               ^lPWONPramS«                     CELLPHONE.             Ou(Ad
W ARIANNA BARKER.WHO HAD BEEN ASLEEP.WOKE UP AND TRIED TO TAKE THE CELLPHONES OUT OF DEFTS HAND.
iFT PUSHED CW ARIANNA BARKER.(5AUSINQ CAW ARIANNA BARKER TO FALL TO THE GROUND.                                                               Uiu uf
  RAN OUT OF THE HOUSE WITH THE CELLPHONES.
NBGHBOR CALLED 911. COMPLAINT RLED.OIR PREPARED.
JURIES:C/W ARIANNA BARKER SUFFERED BRUISING TO THE THIGH.PHOTOS TAKEN.
:FT RETURNED THE CELLPHONES A SHORT TIME LATER:THE CELLPHONES WERE WATER DAMAGED AND INOPERABLE.
W RAJAN MCLEOD W/VS PRESENT.
         i   ■
'02(4/16/16):
)C: DEFT AND C/WS SH/\RED RESIDENCE
:FT WAS INTOXICATED AND DEMANDED THAT CAW SUZETTE MCLEOD BUY DEFT ALCX)HOL AND MARIHUANA.
W SUZETTE MCLEOD GOT INTO THE DRIVER SEAT OF C/W SUZETTE MCLEODS CAR. DEFT GOT INTO THE BACKSEAT.
^E^U^TWXTH^^                                          P^TTHE CAR IN DRIVE AND GO GET MONEY;THE
  YOU TALK THE MORE I HATE YOU,SHUT THE FUCK UP AND PUT THE CAR IN DRIVE.C/W SUZETTE MCLEOD REFUSED.

     TOEN STRUCK FRONT PASSENGER SEAT HEADREST WITH THE HAMMER.PUNCTURING THE HEADREST.(PHOTOS
                                                               A nci/auDrMa-e u/Miec AMrt f«Ai I cn r»<i4
                 Ki6e2a2si

ed   7/2S/2016
Case 1:17-cv-00089-MKB-LB Document 11 Filed 05/30/17 Page 26 of 31 PageID #: 71




                                                                                                         801 Beryen Street   IEWC 260.10(1)
                                                                                  2/10/2016   1:00 AM
                                                                                              1:00 AM    801 Bergen Street lEWC
                                                                                              1:00 AM    801 Bereen Street IPetlt larceny
                                                                                                         801 Bereen Street   Petit Urceny
                                                                                              1:00 AM
                                                                                              1:00 AM    801 Bereen Strert   Icrim Mis4
                                                                                              1:00 AM    801 Bergen Street I Unauthorized use of Vehicle 3
                                                                                              1:00 AM    801 Bereen Street iRobbery 3
                                                                                              1:00 AM    801 Beri^en Str^ |Robbery4
                                                                                              1:00 AM    801 Beryen Street Att. Assauit 3
                                                                                              1:00 AM    801 BefRen Street ilJ
                                                                                              1:00 AM    801 Beryen Street tiu
                                                                                              5:30 PM     1367 Troy Avenue KttRobl
                                                                                  4/15/2016
                                                                                               5:30 PM    1367 Troy Avenue   lAttRob3
                                                                                               5:30 PM    1367 Troy Avenue [Menacing 2
                                                                                               5:30 PM    1367 Troy Avenue I Unlawful Imprison 2
                                                                                               5:30 PM    1367troy Avenue [Unlawful Imprison 1
                                                                                               5:30£M     1367 Troy Avenue CPW4
Case 1:17-cv-00089-MKB-LB Document 11 Filed 05/30/17 Page 27 of 31 PageID #: 72




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Case 1:17-cv-00089-MKB-LB Document 11 Filed 05/30/17 Page 28 of 31 PageID #: 73


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